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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                                May 28, 2019
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
       No. 19-50384     Bahia Amawi v. Pflugerville Indep Sch Dist, et
                        al
                        USDC No. 1:18-CV-1091
                        USDC No. 1:18-CV-1100

Enclosed is an order entered in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Mary Frances Yeager, Deputy Clerk
                                   504-310-7686
Mr.   Michael Abrams
Mr.   Thomas Phillip Brandt
Ms.   Jeannette Clack, Clerk
Mr.   John Thomas Floyd III
Mr.   Brian Hauss
Mr.   Kyle Douglas Hawkins
Ms.   Carolyn M. Homer
Ms.   Lena F. Masri
Ms.   Laura Dahl O'Leary
Ms.   Adriana Cecilia Pinon
Mr.   Edgar Saldivar
Mr.   Andre Segura
Mr.   Francisco J. Valenzuela
      Case: 19-50384   Document: 00514973212 Page: 1 Date Filed: 05/28/2019
         Case 1:18-cv-01091-RP Document 102 Filed 05/28/19 Page 2 of 3




             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT

                                        ___________________
                                           No. 19-50384
                                        ___________________

BAHIA AMAWI.

                Plaintiff - Appellee

v.

KEN PAXTON, in his official capacity as Attorney General of Texas,

                Defendants - Appellants

------------------------------------------------------------------------------------------------------------
JOHN PLUECKER; OBINNA DENNAR; ZACHARY ABDELHADI;
GEORGE HALE;

                 Plaintiffs - Appellees

v.

BOARD OF REGENTS OF THE UNIVERSITY OF HOUSTON SYSTEM;
TRUSTEES OF THE KLEIN INDEPENDENT SCHOOL DISTRICT;
TRUSTEES OF THE LEWISVILLE INDEPENDENT SCHOOL DISTRICT;
BOARD OF REGENTS OF THE TEXAS A&M UNIVERSITY SYSTEM,

                Defendants - Appellants

                                _______________________
                     Appeals from the United States District Court
                           for the Western District of Texas
                                _______________________

Before SOUTHWICK, HAYNES, and HO, Circuit Judges.

PER CURIAM:
    Case: 19-50384   Document: 00514973212 Page: 2 Date Filed: 05/28/2019
       Case 1:18-cv-01091-RP Document 102 Filed 05/28/19 Page 3 of 3



           IT IS ORDERED that Appellants’ motion to stay injunction
pending appeal is GRANTED.


     IT IS FURTHER ORDERED that Appellants’ motion for a temporary
administrative stay of injunction pending a ruling on the motion to stay
injunction pending appeal is DENIED AS MOOT.
